Q_§ Case 1:03-cr-10078-.]DT Document95 Filed 07/08/05 Pagel f3 Page|D 100

 
 
   

as,~,_.,(,

IN THE UNITED sTATEs DISTRICT CoURT _
FoR THE WESTERN DISTRICT oF TENNE§§EE :“`/1 _
EASTERN DIVISION ' ~ "

UNITED sTATEs loF AMER!CA, )
)

Plaintiff, ) cr No 03-10073 0
v. )
)
TERI UHAN, )
a/k/a Teri Drouillard, )
)
Defendant. )

 

MOTION TO CONTINUE SE ENCING

 

COMES NOW, the United States of erica, by and through Ten‘el] L. I-Iarris, United
States Attorney, and R. Leigh Grinalds ssistant United States Attorney for the Western District
ofTennessee, Eastern Division d Would request the sentencing hearing for defendant Teri Uhan
set for August 2, 2005 e continued until after the sentencing of the co-defendants in this case
currently Set for ctober 24, 2005.

The vernment has conferred With Williarn D. Massey, counsel for the defendant, and Mr.
Massey h s no objection to this request
Respectfully Submitted,

TERRELL L. HARRIS
Un!§edt St s Attomey

f/
v / //.

  
   
   

        

    

Assistant United States Attorney

 

MOT|ON GRANTED 109 South Highland, Suite 300
DATE Jackson, Tennessee 38301
(731) 422-6220
(TN Bar # 9178)
U.S. Districl Judg€ Thls document entered on the docket sheet ln compliance @

with nme 55 and/or aetb) Fnch on 07-/1-06

Case 1:03-cr-10078-.]DT Document 95 Filed 07/08/05 Page 2 of 3 Page|D 101

CERTIFICATE OF SERVICE
I, R. Leigh Grinalds, Assistant United States Attomey for the Western District ofTennessee,

hereby certify that a copy of the foregoing has been mailed, first class postage prepaid to:

Willia;m D. Massey, Esquire
3074 East Street
Memphis TN 38128

This :) day of ]uly 2005.

   

R. LEIWGH GPEH<ALDS
Assistant United States Attorney

 

l .,

 

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 95 in
case 1:03-CR-10078 Was distributed by faX, mail, or direct printing on
July ]1, 2005 to the parties listed.

 

William D. Massey
MASSEY & MCCLUSKY
3074 East Street

Memphis7 TN 38128

Lorna S. McClusky
MASSEY & MCCLUSKY
3074 East Street

Memphis7 TN 38128

Richard Leigh Grinalds

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

